201 F.2d 513
    UNITED STATES of America, Appellant,v.KANSAS CITY PUBLIC SERVICE COMPANY.
    No. 14623.
    United States Court of Appeals Eighth Circuit.
    Jan. 20, 1953.
    
      Ellis N. Slack, Sp. Asst. to Atty. Gen. and Sam M. Wear, U.S. Atty., Kansas City, Mo., for appellant.
      Carl V. Rice and William S. Hyatt, Jr., Kansas City, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant. 100 F.Supp. 105.
    
    